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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                    FOR ELECTRONIC
 UNITED STATES OF AMERICA                           PUBLICATION ONLY

       -against-                                    MEMORANDUM & ORDER

 TYQUAN MIDYETT,                                    07-CR-874 (KAM)

                   Defendant.

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 MATSUMOTO, United States District Judge:

             On March 15, 2010, defendant Tyquan Midyett (“Midyett”

 or “defendant”) filed a pro se motion for an evidentiary hearing

 pursuant to United States v. Fatico, 579 F.2d 707 (2d Cir.

 1978), requesting that the court determine the quantity of

 narcotics attributable to or reasonably foreseeable to him, in

 connection with his sentencing hearing currently scheduled for

 May 19, 2010.     (Doc. No. 464.)      Defendant challenges the drug

 quantity calculation set forth in the Probation Department’s

 June 10, 2009 Presentence Report (“PSR”), which attributes to

 defendant approximately 843 net grams of cocaine base (“crack

 cocaine”), resulting in a base offense level of 34 under the

 advisory Sentencing Guidelines.         (See id.; see also PSR ¶¶ 10,

 15, 47.)    Defendant also argues that the evidence at trial was

 legally insufficient to support his conviction for conspiracy to

 distribute and possess with the intent to distribute 50 grams or

 more of a substance containing cocaine base, in violation of 21
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 U.S.C. §§ 841(b)(1)(A)(iii) and 846.         (See 3/15/10 Ltr. at 2-3.)

             On March 19, 2010, the government filed a letter in

 opposition to defendant’s pro se motion, arguing that the

 evidence at trial sufficiently established that defendant was a

 member of a narcotics distribution conspiracy involving 843

 grams of cocaine base.      (Doc. No. 466.)      The government further

 argues that “defendant’s objection to the Guidelines calculation

 is academic in light of the 20-year mandatory minimum he faces.”

 (Id. at 1.)    Additionally, the government contends that the

 trial record established that defendant was a “regular dealer”

 within the conspiracy, as evidenced by the funds recovered on

 defendant’s person at the time of his arrests.             (Id. at 2.)     The

 government argues that “defendant could have reasonably foreseen

 that over 500 grams of crack cocaine was [sic] involved in the

 conspiracy.”    (Id.)

             On March 24, 2010, defendant’s counsel submitted a

 letter in support of defendant’s March 15, 2010 pro se

 submission and in response to the government’s March 19, 2010

 letter.    (Doc. No. 467.)    In his letter, defense counsel argues

 that defendant should be held responsible only for the 50 grams

 of cocaine base for which he was convicted.             (Id.)   Defense

 counsel contends that “there is no proof that a conspiracy

 involving 843 grams of crack was foreseeable” by defendant.

 (Id.)   Defendant’s counsel further contends that the trial

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 evidence, “taken in its best light,” shows “merely” a “casual

 acquaintance among the various participants of the conspiracy .

 . . .”   (Id.)

                                 DISCUSSION

             The court may “find facts relevant to sentencing by a

 preponderance of the evidence without violating the Due Process

 Clause.”    United States v. Vaughn, 430 F.3d 518, 520 (2d Cir.

 2005) (Sotomayor, J.).      The court may base a sentencing decision

 on its determination of the type and quantity of drugs involved

 in the offense, provided that the court does not impose “(1) a

 sentence in the belief that the Guidelines are mandatory, (2) a

 sentence that exceeds the statutory maximum authorized by the

 jury verdict, or (3) a mandatory minimum sentence under § 841(b)

 not authorized by the verdict.”        Id. at 527 (district court may

 rely on facts relevant to sentencing that it finds by a

 preponderance of the evidence, even if a jury has acquitted the

 defendant of that conduct).

             As the court has previously concluded, there was

 overwhelming evidence presented at trial from which the jury

 could infer that defendant had an agreement with a group of

 others to sell cocaine base, and that they sold more than 50

 grams of cocaine base, in violation of 21 U.S.C. §

 841(b)(1)(A)(iii).      (See Doc. No. 377, Memorandum & Order dated

 July 9, 2009.)     Additionally, because the defendant has

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 previously been convicted of a felony drug trafficking offense,

 he is subject to a 20-year mandatory minimum term of

 imprisonment given that the government filed a prior felony

 information pursuant to 21 U.S.C. §§ 841(b)(1)(A) and 851.               (See

 Doc. No. 455, Memorandum & Order dated Feb. 2, 2010, at 3-4.)

             Even if the court were to conclude that defendant is

 responsible for the 50 grams or more of cocaine base involved in

 the narcotics distribution conspiracy for which defendant was

 convicted, the resulting advisory Guidelines calculation would

 not be in conflict with the applicable statutory mandatory

 minimum or maximum.      The mandatory minimum statutory term of

 imprisonment for an offense under 21 U.S.C. §§ 841(b)(1)(A)(iii)

 is 10 years, and where, as here, the government has filed a

 prior felony information pursuant to 21 U.S.C. § 851, the

 mandatory minimum statutory term of imprisonment is 20 years, or

 240 months.

             Based on the parties’ submissions and the factual

 information in the PSR, the court finds that it is able to make

 the factual determinations necessary for sentencing by a

 preponderance of the evidence without a Fatico hearing.               See

 United States v. Phillips, 431 F.3d 86, 93 (2d Cir. 2005) (“The

 district court is not required, by either the Due Process Clause

 or the federal Sentencing Guidelines, to hold a full-blown

 evidentiary hearing in resolving sentencing disputes.              All that

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 is required is that the court afford the defendant some

 opportunity to rebut the Government’s allegations.”) (internal

 quotation marks omitted); see also United States v. Salazar-

 Murillo, 666 F. Supp. 2d 397, 398-99 (S.D.N.Y. 2009) (denying

 Fatico hearing where the court was able to make factual

 determinations necessary for sentencing by a preponderance of

 the evidence, even though defendant pled guilty to conspiracy to

 import one kilogram or more of heroin, and the government

 alleged that defendant was responsible for a conspiracy

 involving approximately 25 kilograms of heroin and 43 kilograms

 of cocaine).    Accordingly, defendant’s motion for a Fatico

 hearing is denied.

                                 CONCLUSION

             For the foregoing reasons, defendant’s motion for a

 Fatico hearing is denied.      The parties shall appear for

 sentencing on May 19, 2010 at 10:00 a.m.

 SO ORDERED.

 Dated: Brooklyn, New York
        April 7, 2010

                                               /s/
                                    KIYO A. MATSUMOTO
                                    United States District Judge
                                    Eastern District of New York




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